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 16                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 17                              SOUTHERN DIVISION
 18 FRANK FALAT, derivatively on behalf of                      Case No. 8:20-cv-1782-JVS-KES
 19 MONSTER BEVERAGE CORPORATION,
                                                                Plaintiff’s Memorandum of
 20                                               Plaintiff,    Points and Authorities in
                                                                Opposition to Nominal
 21                         vs.                                 Defendant Monster Beverage
 22                                                             Corporation’s Motion for
      RODNEY CYRIL SACKS, et al.,                               Reconsideration and the
 23                                                             Individual Defendants’ Joinder
                                              Defendants,
 24                                                             Date:   May 24, 2021
 25                         – and –                             Time: 1:30 p.m.
                                                                Judge: Hon. James V. Selna
 26 MONSTER BEVERAGE CORPORATION,                               Courtroom: 10C
 27                                 Nominal Defendant.
 28


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  1                                    I.      INTRODUCTION
  2          The Court should deny the motion for reconsideration filed by nominal
  3 defendant Monster Beverage Corporation (“Monster” or the Company) and joined
  4 by the Individual Defendants because the motion violates Civil Local Rules 7-3 and
  5 7-18. The motion for reconsideration also fails on the merits.
  6          First, Monster violated Rule 7-3 by failing to meet and confer at least seven
  7 days prior to filing the motion. As this Court and other courts in the Central
  8 District have held, Rule 7-3 is not a mere technicality. Rather, courts in this District
  9 have required strict compliance with Rule 7-3, including its timeliness requirement.
 10 Under Rule 7-4, the Court should deny or strike Monster’s motion for failure to
 11 comply with Rule 7-3. Monster also cannot demonstrate good cause for excusing
 12 compliance with Rule 7-3. On the contrary, Monster does not provide a single
 13 reason as to why it could not meet and confer before April 15, 2021. Rather, it
 14 appears that the decision to wait was due to Monster’s strategic decision to wait and
 15 see if different defendants would obtain a favorable decision from Magistrate Judge
 16 Beeler in another shareholder derivative action. See Ocegueda v. Zuckerberg, 2021
 17 U.S. Dist. LEXIS 73953 (N.D. Cal. Apr. 16, 2021) (“Facebook II”).
 18          Second, there are no valid grounds for reconsideration. In granting Plaintiff
 19 leave to amend to propound an inspection demand, this Court has already
 20 presumably considered and rejected the primary authority relied upon by Monster
 21 in support of reconsideration — In re Facebook, Inc., 411 F. Supp. 3d 649 (N.D.
 22 Cal. 2019) (“Facebook I”). Specifically, Plaintiff’s request for a hearing cited both
 23 the Delaware Supreme Court’s decision in King v. VeriFone Holdings, Inc., 12
 24 A.3d 1140 (Del. 2011), and the decision in Facebook I, which declined to follow
 25 King. In granting Plaintiff leave to amend under King, the Court has presumably
 26 considered both decisions and correctly refused to follow Facebook I because it is
 27 contrary to the Delaware Supreme Court’s holding in King that a plaintiff has
 28 proper purpose to pursue an inspection demand under § 220 where his or her

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  1 derivative complaint is dismissed with leave to amend. See 12 A.3d at 1150.
  2          Similarly without merit is Monster’s argument that the later-issued,
  3 unpublished, one-paragraph decision from Magistrate Judge Beeler in Facebook II
  4 warrants reconsideration. As an initial matter, only a change in controlling law
  5 warrants reconsideration. Facebook II is not “controlling” precedent. Moreover,
  6 Facebook II relies exclusively on Facebook I in concluding that the plaintiff in that
  7 action cannot pursue an inspection demand — a decision that this Court has already
  8 considered and correctly rejected in granting leave to amend. Finally, if accepted,
  9 Monster’s argument would allow any party to seek reconsideration of a district
 10 court’s order every time a different district judge or magistrate judge issues a
 11 contrary decision. Such a result would be contrary to well-established law that a
 12 motion for reconsideration is “an extraordinary remedy, to be used sparingly” and
 13 “should not be granted, absent highly unusual circumstances.” See Kona Enters.
 14 v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000).1
 15          Finally, Monster’s motion fails on the merits. Delaware law is clear that a
 16 books-and-records inspection demand under 8 Del. Code § 220 is not discovery.
 17 Accordingly, the stay of “discovery” under the Private Securities Litigation Reform
 18 Act of 1995 (“PSLRA”) simply does not apply. Monster’s remaining arguments
 19 are similarly inapt. For example, that the inspection demand could take months is
 20 not a valid reason to prevent Plaintiff from seeking books and records. Similarly,
 21 until Monster produces the requested books and records and the Court rules on any
 22 amended complaint that is filed, it is pure speculation as to whether any of those
 23 books and records would be sufficient to adequately plead demand futility.
 24          For all these reasons, the Court should either strike or deny Monster’s motion
 25 for reconsideration and the Individual Defendants’ joinder therein.
 26
 27          1
             Unless otherwise noted, internal citations and quotation marks are omitted,
 28 and all emphasis is added.

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  1                                     II.     BACKGROUND
  2          This is a shareholder derivative action on behalf of Monster, alleging that the
  3 Individual Defendants breached their fiduciary duties and violated federal proxy
  4 disclosure laws by knowingly failing to disclose unlawful and discriminatory
  5 practices at Monster that put the Company at material risk. Among other things,
  6 Plaintiff alleges that the Individual Defendants (1) allowed pervasive sexual
  7 harassment and retaliation to take place at the Company, and (2) concealed and
  8 perpetuated discriminatory hiring and compensation practices at the Company.
  9          Plaintiff commenced this action on September 18, 2020.               Dkt. No. 1.
 10 Defendants filed their motions to dismiss on January 15, 2021. Dkt. Nos. 30, 31. A
 11 hearing on the motions was scheduled for April 5, 2021, but was vacated when the
 12 Court issued its tentative ruling on April 2, 2021.
 13          Pursuant to the procedures set forth in the Court’s tentative ruling, Plaintiff
 14 submitted a request for a hearing on April 6, 2021. Dkt. No. 44. On April 8, 2021,
 15 the Court issued its ruling on Defendants’ motions, granting with leave to amend
 16 Monster’s motion to dismiss for failure to adequately plead demand futility. Dkt.
 17 No. 45. Specifically, the order states that the Court has considered Plaintiff’s
 18 request for a hearing (which cited both King and Facebook I) and has determined
 19 that leave to amend was appropriate “pursuant to King v. VeriFone Holdings, Inc.,
 20 12 A.3d 1140, 1150 (Del. 2011), whereby shareholders whose derivative actions are
 21 dismissed with leave to amend can seek books and records for purposes of
 22 amending the complaint’s allegations with regard to demand futility.” Id. at 10.
 23          On April 19, 2021, at 3:59 p.m., Monster’s counsel called and left a message
 24 for Plaintiff’s counsel to call him back.              Declaration of Yury A. Kolesnikov
 25 (“Kolesnikov Decl.”) ¶ 4. The voicemail did not state that Monster’s counsel
 26 wanted to meet and confer regarding any forthcoming motion for reconsideration.
 27 Id. Monster’s counsel followed up on the voicemail with an e-mail at 4:08 p.m.,
 28 apprising Plaintiff’s counsel for the first time that Monster intended to seek

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  1 reconsideration of this Court’s April 8, 2021 order. Id. ¶ 5. Plaintiff’s counsel
  2 promptly responded with an e-mail at 5:38 p.m., stating that Plaintiff’s counsel was
  3 available to meet and confer on April 20, 2021 and April 21, 2021. Id.
  4          Counsel met and conferred on April 20, 2021. Id. ¶ 6. Two days later, on
  5 April 22, 2021, Monster filed its motion for reconsideration. Dkt. No. 46.
  6          On April 21, 2021, Plaintiff propounded his inspection demand to Monster.
  7 Kolesnikov Decl. ¶ 8. Monster responded on April 28, 2021. Id.
  8                                       III.    ARGUMENT
  9 A.       Monster Failed to Comply with Local Rule 7-3
 10          Local Rule 7-3 provides that “in all cases” (with certain exceptions not
 11 applicable here), “counsel contemplating the filing of any motion shall first contact
 12 opposing counsel to discuss thoroughly, preferably in person, the substance of the
 13 contemplated motion and any potential resolution. The conference shall take place
 14 at least seven (7) days prior to the filing of the motion.” CIV. L.R. 7-3. In turn,
 15 Local Rule 7-4 provides that “[t]he Court may decline to consider a motion unless it
 16 meets the requirements of L.R. 7-3 through 7-8.” See CIV. L.R. 7-4.
 17          As this Court has observed, “[c]ompliance with Rule 7-3 is not optional.”
 18 Parity Networks, LLC v. ZyXEL Communs., Inc., 2021 U.S. Dist. LEXIS 33514, at
 19 *3 (C.D. Cal. Jan. 26, 2021) (Selna, J.) (denying motion for reconsideration); see
 20 also Mortg. Elec. Registration Sys. v. Robinson, 2014 U.S. Dist. LEXIS 196685, at
 21 *2 (C.D. Cal. May 9, 2014) (“Local Rule 7-3 is not a mere technicality.”); Lopez v.
 22 Wells Fargo Bank, N.A., 2016 U.S. Dist. LEXIS 144380, at *5 (C.D. Cal. Oct. 17,
 23 2016) (“Local Rule 7-3 isn’t just a piece of petty pedantry put down to trip up
 24 lawyers. Nor is Local Rule 7-3 a mere formalism simply there to be checked off by
 25 lawyers.”). Courts in the Central District require strict compliance with Rule 7-3’s
 26 requirements. See, e.g., Parity, 2021 U.S. U.S. Dist. LEXIS 33514, at *3 (“Courts
 27 in this district have denied motions for failure to comply with Local Rule 7-3 in
 28 particular.”); J & J Sports Prods. v. Auila, 2014 U.S. Dist. LEXIS 190470, at *2

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   1 (C.D. Cal. Feb. 11, 2014) (“This Court maintains a firm policy of reducing
   2 unnecessary motion practice and requires strict compliance with Local Rule 7-3.”).
   3 This includes strict compliance with Rule 7-3’s requirement that any meet-and-
   4 confer “shall” take place “at least seven (7) days prior to the filing of the motion.”
   5 See CIV. L.R. 7-3; see also Steele v. J.P. Morgan Chase Bank, N.A., 2015 U.S. Dist.
   6 LEXIS 68660, at *5 (C.D. Cal. May 27, 2015) (“the conference must still take place
   7 at least seven days, not three or four, before the filing of the motion”).
   8          Here, Monster’s motion for reconsideration violates Rule 7-3 because
   9 Monster failed to meet and confer “at least seven (7) days prior to the filing of the
  10 motion.” See CIV. L.R. 7-3. Specifically, the motion for reconsideration was filed
  11 on April 22, 2021. Dkt. No. 45. This was only two days after the parties met and
  12 conferred on April 20, 2021. See Kolesnikov Decl. ¶¶ 6–7. Courts in the Central
  13 District frequently deny or strike motions where the moving party has failed to meet
  14 and confer at least seven days prior to filing the motion. See, e.g., Steele, 2015 U.S.
  15 Dist. LEXIS 68660, at *5 (striking defendant’s motion to dismiss and plaintiffs’
  16 motion to remand where the motions were filed only three and four days following
  17 the meet-and-confer); Barnett v. Cnty. of Los Angeles, 2021 U.S. Dist. LEXIS
  18 40959, at **6–7 (C.D. Cal. Mar. 4, 2021) (denying motion to dismiss where the
  19 motion was filed only five days following first attempt to meet and confer).
  20          Monster has also failed to demonstrate good cause for excusing compliance
  21 with Rule 7-3’s timeliness requirement. See Mortg. Elec., 2014 U.S. Dist. LEXIS
  22 196685, at **4–5 (“the Court will not excuse non-compliance unless the moving
  23 party shows that it made a good faith effort to engage in a substantive and timely
  24 conference with opposing counsel, or otherwise shows good cause why the Court
  25 should not strictly enforce Rule 7-3”). Notably, the Court’s order was filed on
  26 April 8, 2021. Monster’s counsel does not provide a single reason for why he
  27 could not meet and confer prior to April 15, 2021. Rather, it is obvious from the
  28 motion for reconsideration that Monster made a strategic decision to wait and see if

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   1 defendants will get a favorable ruling from Judge Beeler in Facebook II on the
   2 plaintiff’s administrative motion to extend time to file an amended complaint,
   3 which was filed on April 7, 2021, and fully briefed on April 12, 2021.             See
   4 Ocegueda v. Zuckerberg, Dkt. Nos. 66, 67 (N.D. Cal.).2 A strategic decision to wait
   5 and see if a favorable order in a different case will be issued is not “good cause.”
   6          There is no merit to Monster’s suggestion that the Court should excuse
   7 compliance with Rule 7-3’s timeliness requirement on a purported basis that
   8 “Plaintiff’s counsel was clear that Plaintiff would never agree that his Complaint
   9 should be dismissed without leave to amend.” See Dkt. No. 46 at 11. Courts in this
  10 District consistently reject similar arguments based on purported futility of meet-
  11 and-confer or lack of prejudice. See, e.g., Assad v. Josefsson, 2018 U.S. Dist.
  12 LEXIS 227338, at **3–4 (C.D. Cal. Sept. 14, 2018) (strictly applying Local Rule 7-
  13 3 and denying motion for reconsideration, despite plaintiff’s argument that “a pre-
  14 motion conference would have been futile”); Moghaddam v. Liberty Life Assur.
  15 Co., 2015 U.S. Dist. LEXIS 124714, at *6 (C.D. Cal. Sept. 17, 2015) (noting that
  16 “adherence to the local rules is not optional” and rejecting defendants’ attempt to
  17 justify its failure to comply with Local Rule 7-3 on the basis that “such an attempt
  18 would have been futile”); see also Mortg. Elec., 2014 U.S. Dist. LEXIS 196685, at
  19 **3–4 (observing that Local Rule 7-3 is not “a trivial procedural hurdle” — “a
  20 speed bump” that counsel “can disregard without any real consequence”).
  21          For all the foregoing reasons, under Rule 7-4, Monster’s failure to comply
  22 with Rule 7-3 is sufficient, by itself, to either strike or deny the motion for
  23 reconsideration. See CIV. L.R. 7-3 & 7-4; see also Parity, 2021 U.S. U.S. Dist.
  24 LEXIS 33514, at *3 (denying motion for reconsideration); Steele, 2015 U.S. Dist.
  25 LEXIS 68660, at *5 (striking motions that were filed in violation of Rule 7-3’s
  26          2
             Monster’s counsel was aware of Facebook II proceedings, as is reflected by
  27 Monster’s repeated citations in its reply brief to Judge Beeler’s March 19, 2021
  28 order granting Facebook’s motion to dismiss. See Dkt. No. 41 at 3, 4, 11–12, 19.

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   1 timeliness requirement); Barnett, 2021 U.S. Dist. LEXIS 40959, at **6–7 (denying
   2 a motion that was filed in violation of Rule 7-3’s timeliness requirement).
   3 B.       There Is No Valid Ground for Reconsideration
   4          “In federal court, motions for reconsideration are governed by Federal Rules
   5 of Civil Procedure 59(e) and 60(b).” Tawfilis v. Allergan, Inc., 2015 U.S. Dist.
   6 LEXIS 175629, at *1 (C.D. Cal. Dec. 14, 2015). A motion for reconsideration is
   7 “an extraordinary remedy, to be used sparingly in the interests of finality and
   8 conservation of judicial resources.” Kona, 229 F.3d at 890. “Indeed, a motion for
   9 reconsideration should not be granted, absent highly unusual circumstances,
  10 unless the district court is presented with newly discovered evidence, committed
  11 clear error, or if there is an intervening change in the controlling law.” Id.
  12          In this District, motions for reconsideration are further governed by Local
  13 Rule 7-18, which provides in relevant part:
  14          A motion for reconsideration of an Order on any motion or application
  15          may be made only on the grounds of (a) a material difference in fact or
  16          law from that presented to the Court that, in the exercise of reasonable
  17          diligence, could not have been known to the party moving for
  18          reconsideration at the time the Order was entered, or (b) the emergence
  19          of new material facts or a change of law occurring after the Order was
  20          entered, or (c) a manifest showing of a failure to consider material
  21          facts presented to the Court before the Order was entered.
  22 CIV. L.R. 7-18. “Courts in this district have interpreted Local Rule 7-18 to be
  23 coextensive with Rules 59(e) and 60(b).” Tawfilis, 2015 U.S. Dist. LEXIS 175629,
  24 at *3. Notably, under Rule 7-18, “a motion for reconsideration may not be made on
  25 the grounds that a party disagrees with the Court’s application of legal precedent.”
  26 Glaukos Corp. v. Ivantis, Inc., 2020 U.S. Dist. LEXIS 193048, at *4 (C.D. Cal. July
  27 30, 2020) (Selna, J.); see also Midland Nat'l Life Ins. Co. v. Jones, 2021 U.S. Dist.
  28 LEXIS 54564, at *4 (C.D. Cal. Feb. 5, 2021) (“Unhappiness with the outcome is

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   1 not included within the rule; unless the moving party shows that one of the stated
   2 grounds for reconsideration exists, the Court will not grant a reconsideration.”);
   3 Sparks v. NBC E-Online, 2021 U.S. Dist. LEXIS 43061, at *5 (C.D. Cal. Mar. 8,
   4 2021) (“Displeasure with the outcome alone is insufficient; unless the moving party
   5 shows that one of the factors exist, the court will not grant reconsideration.”).
   6          Relying on subpart (a) of Rule 7-18, Monster’s first argues that
   7 reconsideration is appropriate because “Monster did not have the opportunity in the
   8 exercise of reasonable diligence to provide the Court with dispositive statutory and
   9 case authority why Plaintiff is not entitled to leave to amend to pursue a Section
  10 220 request.” See Dkt. No. 46 at 1–2. But the primary “dispositive” authority that
  11 Monster relies upon are Facebook I and Facebook II decisions. See Dkt. No. 46 at
  12 5–6. Putting aside the fact that neither authority is “dispositive” or controlling, this
  13 Court already considered Facebook I, which was referenced in Plaintiff’s request
  14 for a hearing (see Dkt. No. 44 at 3), in modifying its tentative ruling to grant leave
  15 to amend (see Dkt. No. 45 at 10). As for Facebook II, that unpublished one-
  16 paragraph order from Magistrate Judge Beeler relies exclusively on Facebook I.
  17          Simply put, the arguments that Monster seeks to advance in its motion for
  18 reconsideration track the arguments that are addressed in Facebook I, which the
  19 Court presumably has already considered and correctly rejected as contrary to the
  20 Delaware Supreme Court’s decision in King v. VeriFone, 12 A.3d 1140. Notably,
  21 Monster does not cite a single decision from either the Ninth Circuit or the
  22 Delaware Supreme Court that holds that a books-and-records inspection demand is
  23 not allowed in a shareholder derivative action asserting a claim for violation of
  24 § 14(a) of the Securities Exchange Act of 1934. On the other hand, in King, the
  25 Delaware Supreme Court explicitly held that such right to inspect the company’s
  26 books and records is available to a shareholder whose derivative action “was
  27 dismissed on demand futility-related grounds without prejudice and with leave to
  28 amend.” Id. at 1150. Accordingly, because Monster has failed to identify any

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   1 “material difference in fact or law from that presented to the Court,” Monster fails
   2 to demonstrate that reconsideration is proper under subpart (a) of Rule 7-18. See
   3 also Garcia v. Shasta Bevs., Inc., 2021 U.S. Dist. LEXIS 75388, at *7 (C.D. Cal.
   4 Feb. 25, 2021) (observing that the party moving for reconsideration bears the
   5 burden of demonstrating, among other things, that the new facts or evidence are “of
   6 such magnitude” that it would likely change the disposition of the motion).
   7          Next, relying on subpart (b) of Rule 7-18, Monster argues that
   8 reconsideration is appropriate because this Court “did not have the benefit of the
   9 April 16, 201 ruling in [Facebook II].” See Dkt. No. 46 at 3. This argument,
  10 however, fails because only a change in controlling law is sufficient to warrant
  11 reconsideration. See Kona, 229 F.3d at 890 (“a motion for reconsideration should
  12 not be granted, absent highly unusual circumstances, unless the district court is
  13 presented with newly discovered evidence, committed clear error, or if there is an
  14 intervening change in the controlling law”); see also Tawfilis, 2015 U.S. Dist.
  15 LEXIS 175629, at *3 (“Courts in this district have interpreted Local Rule 7-18 to be
  16 coextensive with Rules 59(e) and 60(b).”).                  It goes without saying that an
  17 unpublished, one-paragraph, trial-court decision does not amount to “an intervening
  18 change in the controlling law” warranting reconsideration. That is particularly true
  19 in this case, where Magistrate Judge Beeler’s decision in Facebook II relies
  20 exclusively on Facebook I, which was previously brought to this Court’s attention
  21 (see Dkt. No. 44 at 3) and, thus, presumably considered and rejected by the Court.
  22          Simply put, neither Federal Rules of Civil Procedure 59(e) and 60(b) nor
  23 Local Rule 7-18 permit a party to relitigate an issue just because another trial court
  24 reached a different conclusion on the issue already decided by the Court. Indeed, if
  25 accepted, Monster’s argument would allow any party to seek reconsideration of a
  26 district court’s order every time a different district judge or magistrate judge issues
  27 a contrary decision. Such a result would be contrary to well-established law that a
  28 motion for reconsideration is “an extraordinary remedy, to be used sparingly” and

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   1 “should not be granted, absent highly unusual circumstances.” See Kona, 229
   2 F.3d at 890. For all the foregoing reasons, the Court should deny Monster’s motion
   3 for reconsideration for failure to comply with Rule 7-18.
   4 C.       The Motion for Reconsideration Fails on the Merits
   5          In light of Monster’s failure to comply with Rules 7-3 and 7-18, the Court
   6 should either strike or deny the motion for reconsideration without reaching its
   7 merits. However, to the extent the Court is inclined to reach the merits, the Court
   8 should find that the Delaware Supreme Court’s holding in King applies equally to
   9 shareholder derivative actions asserting a § 14(a) claim. Notably, the plaintiff in
  10 Facebook II did not have an opportunity to brief this specific issue and, as such, the
  11 decision in Facebook II was issued without the benefit of this briefing.
  12          Fundamentally, Monster is wrong in arguing that the PSLRA’s stay of
  13 “discovery” prevents Plaintiff from propounding a demand to inspect the
  14 Company’s books and records. On the contrary, Delaware courts have held that an
  15 inspection of books and records under 8 Del. Code § 220 is not “discovery.” See,
  16 e.g., Paul v. China MediaExpress Holdings, Inc., 2012 Del. Ch. LEXIS 3, at *18
  17 (Del. Ch. Jan. 5, 2012) (“Inspection under § 220 is not discovery, but rather is a
  18 limited form of document production narrowly tailored to the express purposes of
  19 the shareholder requesting access to the company’s books and records.”); see also
  20 Am. Bank v. City of Menasha, 627 F.3d 261, 265 (7th Cir. 2010) (“The Delaware
  21 General Corporation Law, for example, entitles shareholders to inspect corporate
  22 books and records for ‘any proper purpose[,]’ and the Delaware Supreme Court
  23 has ruled that requests made under this provision are not discovery demands.”)
  24 (citing Saito v. McKesson HBOC, Inc., 806 A.2d 113, 114–15 (Del. 2002)).
  25          Indeed, the Delaware Supreme Court has consistently held that although
  26 derivative plaintiffs are prevented from conducting “discovery” for purposes of
  27 establishing demand futility under Rule 23.1, they are not prevented from utilizing
  28 other “tools at hand,” including a books-and-records inspection demand under

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   1 § 220. See, e.g., Brehm v. Eisner, 746 A.2d 244, 262 n.57, 266 (Del. 2000);
   2 Scattered Corp. v. Chicago Stock Exch., 701 A.2d 70, 78 (Del. 1997); Rales v.
   3 Blasband, 634 A.2d 927, 934 n.10 (Del. 1993). In King, the Delaware Supreme
   4 Court reaffirmed the validity of this principle in a situation (such as this) where the
   5 derivative plaintiff’s complaint is dismissed with leave to amend. See 12 A.3d at
   6 1150; see also Ash v. McCall, 2000 Del. Ch. LEXIS 144, at *55 n.56 (Del. Ch.
   7 Sept. 15, 2000) (granting further leave to amend and advising plaintiffs to pursue an
   8 inspection demand under § 220) (the resulting § 220 action for books and records
   9 was later addressed by the Delaware Supreme Court in Saito, 806 A.2d 113).3
  10          As observed earlier, Monster does not cite a single binding authority from
  11 the Ninth Circuit or the Delaware Supreme Court that would exclude derivative
  12 actions asserting a § 14(a) claim from the Delaware Supreme Court’s holding in
  13 King. To the extent several district courts, including Facebook I, have held to the
  14 contrary, they conflate a § 220 inspection demand with “discovery” under the
  15 PSLRA, are contrary to the holding in King, and should not be followed.
  16          Monster’s remaining arguments similarly lack merit. For example, Monster
  17 argues that “even where a federal securities claim is not included in a shareholder
  18 derivative complaint, courts often stay discovery in a shareholder derivative action
  19 until the plaintiff can survive a motion to dismiss.” Dkt. No. 46 at 5. Again, that is
  20 irrelevant because § 220 inspection demand is not “discovery” and because any
  21 such holding, to the extent it applies to § 220 inspection demand, would be contrary
  22 to the Delaware Supreme Court’s decision in King.
  23          Similar inapt is Monster’s argument that “Delaware courts are generally
  24
  25          3
              Monster’s reliance on Beiser v. PMC-Sierra, Inc., 2009 Del. Ch. LEXIS 36
  26 (Del. Ch. Feb. 26, 2009), is misplaced. The Delaware Supreme Court in King
     expressly distinguished Beiser on the ground that at the time the derivative plaintiff
  27 in that case pursued an inspection demand, “no leave to amend had been granted” in
  28 the derivative action. See King, 12 A.3d at 1148–49. That is not the case here.

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   1 hostile to shareholder Section 220 demands submitted after the shareholder has
   2 already filed derivative litigation.” Dkt. No. 46 at 6. While that may be true, the
   3 Delaware Supreme Court in King held in no uncertain terms that the failure to seek
   4 an inspection of books and records prior to commencement of the derivative suit
   5 does not bar the plaintiff from thereafter pursing a § 220 inspection demand if his
   6 or her derivative complaint is dismissed with leave to amend. 12 A.3d at 1150.
   7          Monster’s complaint that an inspection demand under § 220 “can take many
   8 months to resolve” is also not a reason to deny Plaintiff the right that he has, as a
   9 shareholder of Monster, to inspect books and records. The Delaware Supreme
  10 Court is well aware of how long an inspection demand § 220 can take to resolve,
  11 and yet it held that a derivative plaintiff can pursue such a demand when his or her
  12 derivative complaint is dismissed with leave to amend. See King, 12 A.3d at 1150.
  13 To the extent Monster is suggesting that it will refuse to comply in good faith with a
  14 books-and-records demand, thus requiring Plaintiff to litigate to enforce his
  15 statutory inspection rights, that is similarly not a reason to deny leave to amend.
  16          In any event, any guess as to how long an inspection demand would take in
  17 this case is pure speculation at this juncture.                Notably, Plaintiff has already
  18 propounded an inspection demand to Monster on April 21, 2021. Kolesnikov Decl.
  19 ¶ 8. Monster has already responded to the demand on April 28, 2021. Id. The
  20 parties will now meet and confer regarding Monster’s objections. If the meet-and-
  21 confer process is not successful, both California and Delaware law provide for
  22 expedited proceedings to enforce shareholder inspection rights. At this juncture,
  23 however, it is impossible to know whether Plaintiff would be required to resort to
  24 litigation to enforce his inspection rights and, if so, how long that would take.
  25 D.       The Requested Books and Records May Be Sufficient to Provide a Basis
              for Pleading Demand Futility
  26
              There is no merit to Monster’s suggestion that the § 220 inspection would not
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       provide a basis to demonstrate demand futility. To demonstrate demand futility,
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   1 Plaintiff need only allege that a demand on 5 out of 10 directors on Monster’s board
   2 would be excused because they are either interested or lack independence. See,
   3 e.g., Rosenbloom v. Pyott, 765 F.3d 1137, 1150 (9th Cir. 2014). The Court already
   4 agreed with Plaintiff that “Sacks, Schlosberg, and Hall are sufficiently interested as
   5 both long-term directors and managers to excuse demand.” Dkt. No. 46 at 8. As
   6 such, Plaintiff need only demonstrate that 2 out of the 7 remaining directors are
   7 either interested or lack independence to excuse the demand.
   8          1.     Audit Committee Members
   9          Among other things, Plaintiff’s inspection demand seeks books and records
  10 pertaining to the Audit Committee’s knowledge of the pervasive sexual harassment,
  11 discrimination, and retaliation at Monster. As numerous courts have observed,
  12 while committee membership by itself may not be sufficient to impart knowledge,
  13 allegations that directors served on the audit committee and had access to the
  14 allegedly omitted material information can be sufficient to excuse the demand.
  15          For example, in In re Intuitive Surgical S’holder Derivative Litig., the court
  16 found demand excused as to audit committee members where plaintiff “has pleaded
  17 sufficient particularized facts to show that beyond the directors’ membership in the
  18 Audit Committee, they knew of the defect and regulatory deficiencies” and, thus,
  19 “should have known about the covert recalls and should have known to comply
  20 with the regulatory requirement of reporting the recalls because the committee
  21 oversees regulatory compliance.” 146 F. Supp. 3d 1106, 1121 (N.D. Cal. 2015).
  22          Similarly, in In re Zillow Grp., Inc., the court found demand excused as to
  23 two audit committee members where plaintiffs alleged that those directors “served
  24 as audit committee members when Zillow received the 2015 civil investigative
  25 demand from the CFPB.” 2020 U.S. Dist. LEXIS 34802, at *10 (W.D. Wash. Feb.
  26 28, 2020). Given that the audit committee was “charged with reviewing legal and
  27 regulatory matters that may affect the company,” the court found that it was
  28 “reasonable to infer that [the two audit committee members] were informed of the

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   1 contents of the civil investigative demand,” thus putting them “on notice that the
   2 company’s comarketing program potentially violated federal law.” Id. at **10–11.
   3          Here, just like in Intuitive Surgical and Zillow, Monster’s Audit Committee
   4 was charged with “review[ing] and discuss[ing] with management the risks faced
   5 by the Company,” including “legal matters, as well as the steps management has
   6 taken to monitor and control such exposures.” Compl. ¶ 212. Defendants Selati
   7 and Fayard have served on the Audit Committee since 2004 and 2015, respectively.
   8 Id. ¶¶ 51, 55. The alleged sexual harassment and retaliation took place between
   9 2016 and 2018 and the five lawsuits were filed in 2018. Id. ¶¶ 124–157. Plaintiff is
  10 seeking books and records to determine what information was disclosed to the
  11 Audit Committee between 2016 and 2018 regarding the alleged sexual harassment,
  12 discrimination, and retaliation and what steps were taken by the Audit Committee
  13 in response, if any. This information, which is currently in Monster’s exclusive
  14 possession, may be sufficient to allege substantial likelihood of liability on behalf
  15 of Fayard and Selati, thus excusing the demand. See Intuitive Surgical, 146 F.
  16 Supp. 3d at 1121; Zillow, 2020 U.S. Dist. LEXIS 34802, at *10; see also In re
  17 SCANA Corp. Derivative Litig., 2018 U.S. Dist. LEXIS 107042, at **15–16
  18 (D.S.C. June 27, 2018) (excusing the demand based on, inter alia, plaintiff’s
  19 allegations regarding knowledge obtained through committee memberships).
  20          2.     Board’s Oversight
  21          Plaintiff can also allege demand futility by demonstrating that the Board as a
  22 whole was aware of the pervasive sexual harassment, discrimination, and retaliation
  23 at the Company but failed to act in the face of such knowledge.               See, e.g.,
  24 Rosenbloom, 765 F.3d at 1150–54 (plaintiff sufficiently alleged that the board was
  25 aware of the company’s off-label promotion of its key drug); Shaev v. Baker, 2017
  26 U.S. Dist. LEXIS 68523, at **32–46 (N.D. Cal. May 4, 2017) (plaintiff sufficiently
  27 alleged that the board was aware of the widespread illegal activity at the company
  28 and of the several lawsuits); In re Countrywide Fin. Corp. Derivative Litig., 554 F.

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   1 Supp. 2d 1044, 1060–64 (C.D. Cal. 2008) (plaintiff sufficiently alleged directors’
   2 awareness of the widespread deviations from loan underwriting standards that were
   3 occurring in the company’s branch offices around the country).
   4          Here, the information regarding the Board’s awareness of the sexual
   5 harassment, discrimination, and retaliation is in Monster’s exclusive possession.
   6 Plaintiff is seeking Board and committee minutes and materials, which would
   7 demonstrate if and to what extent such issues were discussed at the Board or
   8 committee meetings and what actions, if any, were taken in response. See, e.g.,
   9 Oswald v. Humphreys, 2016 U.S. Dist. LEXIS 154998, at **!0–12 (N.D. Cal. Nov.
  10 7, 2016) (“a plaintiff can obtain books and records that address the crux of the
  11 shareholder’s purpose ... if that information is unavailable from another source”
  12 (citation omitted)) (allowing plaintiff to inspect books and records to determine the
  13 extent of director knowledge of the alleged improper conduct). Such information
  14 may be sufficient to demonstrate substantial likelihood of liability on behalf of the
  15 Board, thus excusing the demand.
  16                                              *    *    *
  17          Again, until Monster produces the books and records requested in Plaintiff’s
  18 inspection demand, it is pure speculation to debate whether those books and records
  19 would provide sufficient facts for Plaintiff to amend his demand-futility allegations.
  20 If Monster is confident that the requested books and records would not be
  21 sufficient, it should produce them promptly, so that the Court can expeditiously rule
  22 on the sufficiency of the allegations in any amended complaint that is filed. What
  23 Monster cannot do, however, is to prevent Plaintiff from reviewing the requested
  24 books and records merely based on its “say-so” that the books and records that are
  25 in its exclusive possession and control do not bear on the issues of demand futility.
  26                                      IV.    CONCLUSION
  27          For all of these reasons, the Court should either strike or deny Monster’s
  28 motion for reconsideration and the Individual Defendants’ joinder therein.

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